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                                              Claudio Tello, Agent
                                          4500 South Garnett Road
                                                   Tulsa, OK
                                            Office: (918) 313-1926
                                        Email: Claudio.tello@obn.ok.gov


  PROFESSIONAL EXPERIENCE


  01/2024 to present:        Agent
                             Oklahoma Bureau of Narcotics and Dangerous Drugs
                             Tulsa, Oklahoma

                            Duties: Investigate alleged violations of Oklahoma’s Uniform Controlled
                            Dangerous Substance Act (Title 63 of the state statutes). Investigate criminal
                            enterprises involved in narcotics and drug related activities. Analyze data and use
                            databases to gather information related to the investigation. Conduct interviews
                            of drug users and distributors. Prepare and serving search warrants. Obtain and
                            package evidence. Monitor during T-III wire intercept. Perform surveillance.
                            Conducted a diversion investigation in an undercover capacity.


  01/2020 to 01/2024:        Police Officer
                             Owasso Police Department
                             Owasso, OK

                            Duties: Enforced Oklahoma state statutes, Cherokee Nation tribal laws, and
                            municipal ordinances. Performed proactive traffic enforcement and criminal-
                            interdiction related traffic stops on city/state highways and roads. Used a mobile
                            computer system to perform routine records checks. Arrested and detained
                            criminal suspects and violators of the law. Participated in numerous drug related
                            cases. Seized and submitted evidence, including but not limited to narcotics, drug
                            paraphernalia, documents of identity theft, and firearms. Conducted preliminary
                            investigations of crimes, determined elements of the crime, interviewed suspects.
                            Responded to calls for service. Prepared and wrote detailed reports and/or
                            citations of incidents to aid in prosecution. Testified as government witness.
  While employed at the Owasso Police Department, I was cross deputized with the Cherokee Nation’s
  Marshal service and the Creek Nation’s Light Horse Police Department.

  EDUCATION


    2020 to 2024        Norwich University
                        Northfield, Vermont
                        Bachelor of Science Degree (BS)
                        Major: Cyber Security
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    2015 to 2018     Rio Salado College
                     Tempe, Arizona
                     Associate in applied science (AAS)
                     Major: General Business



  CERTIFICATIONS


  Oklahoma Law Enforcement Officer
  Council on Law Enforcement Education and Training
  Basic Peace Officer Certification
  2020 – Present


  Basic Instructor Certification
  Council on Law Enforcement Education and Training
  2022

  PROFESSIONAL TRAINING RECIEVED


  2020      Standardized Field Sobriety Testing Course (24 hours)
  2021      Norwich University Procedures in Forensics (Summer 2021)
  2021      Advanced Roadside Impaired Driving Enforcement Course (16 hours)
  2021      Desert Snow’s Criminal Interdiction training and workshop Course (24 hours)
  2022      Criminal Jurisdiction in Indian County Training (16 hours)
  2022      Human Trafficking Interdiction Training (8 hours)
  2022      Human Trafficking Proactive Operations Training (8 hours)
  2023      Basic Search Warrant Writing Course (8 hours)
  2023      Street Cop’s Interdiction Mastermind Course (6 hours)
  2023      NICTI The Forensic Evaluation of Strangulation and Gunshot Wound Cases (01/11 to 01/12)
  2023      Oklahoma Bureau of Narcotics’ Highway Interdiction Course (4 hours)
  2023      Oklahoma Bureau of Narcotics’ Controlled Deliveries Course (4 hours)
  2023      Norwich University Foundations in Cyber Law & Cybercrime (Spring 2023)
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  2023      Street Cop Conference includes but it is not limited to training in High Level Interdiction and
  Vehicle Compartments, Hotel/Parking Lot Interdiction/Investigations, Narcotics and Gun Investigations,
  and social media and Open-Source Investigations (32 hours)
  2023      Norwich University Foundations in Computer Forensics (Summer 2023)
  2023      Norwich University Cyber Investigations (Fall 2023)
  2023      Norwich University Networks Forensics (Fall 2023)
  2024      Contraband Concealment and Detection Course (4 hours)
  2024      Developing, Managing, and Using Confidential Informants in Narcotics Operations Course (2
  hours)
  2024      Profiling Dangerous People Training (8 hours)
  2024      Reid Technique of Investigative Interviewing and Advanced Interrogation (24 hours)
  2024      Association of Oklahoma Narcotics Enforcers’ conference including training in conspiracy
  investigations, evolution of criminal patrol, and human intelligence and risk mitigations. (20 hours)
  2024      Oklahoma Bureau of Narcotics’ Narcotics Investigation School (2-week training) at Oklahoma
  City, OK. Includes training in drug laws and drug identification, diversion investigations, complex
  investigations, medical marijuana and grow operations, knock and talk investigations, surveillance
  operations, undercover operations, human trafficking, search warrant writing.
  2024      SWAT Operator School (100 hours)



  RIBBONS, MEDALS, and AWARDS


  State of Oklahoma’s Buckle Down Awards (Traffic Safety – Traffic Stops) 2022 & 2023
  Life Saving Cross Medal – 2022
  Gallantry Star Medal – 2020
  Unit Citation Medal - 2020
